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               OCTOBER 29, 2021
                CBP JUVENILE
             COORDINATOR REPORT
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                                #:45874
                                                                             1300 Pennsylvania Avenue, NW
                                                                             Washington, DC 20229




 October 29, 2021

 MEMORANDUM FOR:               The Honorable Judge Gee
                               District Judge
                               U.S. District Court, Central District of California
                                                                                                      10/28/2021

 FROM:                         Henry A. Moak, Jr.
                               Chief Accountability Officer              X

                               U.S. Customs and Border Protection        Signed by: HENRY A MOAK JR




 SUBJECT:                      CBP Juvenile Coordinator October 29, 2021 Interim Report

 On September 17, 2021, this Court ordered the U.S. Customs and Border Protection (CBP)
 Juvenile Coordinator, as well as the Juvenile Coordinators for U.S. Immigration and Customs
 Enforcement (ICE) and the U.S. Department of Health and Human Services (HHS), to file an
 interim report by October 29, 2021, to include: (i) the census of minors in each of the agency’s
 facilities; (ii) the average length of stay for minors currently in the agency’s facilities and for
 minors who have been released, with more details to assist the Court and the parties in tracking
 these metrics; (iii) the number of minors currently testing positive for COVID-19; and (iv)
 whether the Juvenile Coordinator has adequate personnel or other capacity to provide detailed
 monitoring of new or expanded facilities. More specifically, this Court directed the CBP
 Juvenile Coordinator to include: (i) a census of Class Members in CBP custody in the Rio
 Grande Valley sector; (ii) an update on CBP’s policies and capacity for processing minors in
 light of COVID-19, Title 42, and the recent influx; (iii) an update as to whether the conditions at
 the Donna Centralized Processing Center (CPC-DNT), the temporary outdoor processing site,
 and any other facility that serves as a hub for processing minors are safe and sanitary under FSA
 Paragraph 12; and (iv) a status update, if any, on CBP construction or renovation projects related
 to processing Class Members.

 The CBP Juvenile Coordinator submits the following report in response to this
 Court’s September 17, 2021 Order. This report builds on the information provided in the
 previous interim reports submitted January 15, 2021, March 5, 2021, April 9, 2021, June 4, 2021,
 July 23, 2021, and September 3, 2021. Given the nature of the Court’s request, this report
 provides information about the average time in custody (TIC) for children and the average
 number of children in custody across the Southwest Border (SWB), as well as more detailed
 information regarding the Rio Grande Valley (RGV) U.S. Border Patrol (USBP) Sector.
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 Census of Class Members

 Overall encounters decreased 8.5% from August 2021 to September 2021.1 More specifically,
 family unit (FMU) encounters, including both adults and children, decreased by 25.7%, and
 unaccompanied children (UCs) encounters decreased by 23.7%.2 On average, in September
 2021, there were 772 UCs in CBP custody per day, compared to August 2021 when there were
 an average of 1,435 UCs in custody per day. 3 Despite lower encounters this month compared to
 previous months, encounters were still 232.9% higher than encounters during the same time
 period in fiscal year (FY) 2020.4

 The following tables provide additional information regarding encounters at the SWB CBP-wide
 as well as encounters specific to USBP SWB and RGV Sector.

                      Table 1. CBP Encounters in August and September 2021

                        August      September           %              FY 207           FY 218            %
                         20215        20216           Change                                            Change
     CBP Single
                       103,980        113,030           8.0%          353,168         1,105,925         213.1%
     Adults
     CBP UCs/           18,806         14,358          -23.7%          33,239          146,925          342.0%
     Single Minors
     CBP FMUs9          86,631         64,388          -25.7%          70,994          479,728          575.7%
     CBP AMs10           423            225            -46.8%           687             2,108           206.8%




 1
   See, U.S. Border Patrol and Office of Field Operations Encounters FY 2021, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters,
 (last visited October 27, 2021).
 2
   Id.
 3
   See, CBP Releases September 2021 Monthly Operational Update, U.S. Department of Homeland Security, Custom
 and Border Protection, https://www.cbp.gov/newsroom/national-media-release/cbp-releases-september-2021-
 monthly-operational-update, (last visited October 27, 2021).
 4
   See, U.S. Border Patrol and Office of Field Operations Encounters FY 2021, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters,
 (last visited October 27, 2021).
 5
    Id.
 6
   Id.
 7
   Id.
 8
   Id.
 9
   Family unit represents the number of individuals (either a child under 18 years old, parent/legal guardian)
 encountered as part of a family unit by CBP. A family unit is defined as a noncitizen child/children accompanied by
 his/her/their parent(s) or legal guardian(s).
 10
    Accompanied Minors (AMs) are inadmissible children who are accompanied by an admissible parent/legal
 guardian. These statistics are applicable to CBP’s Office of Field Operations (OFO) only.
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             Table 2. USBP RGV Sector Encounters in August and September 2021

                      August      September % Change                 FY 2013         FY 2114        % Change
                      202111        202112
  RGV Single
                       19,758        20,020           1.3%             68,282        215,450          215.5%
  Adults
  RGV UCs              11,338         8,226          -27.4%            10,258         76,284          643.7%
  RGV FMUs             50,082        26,826          -46.4%            11,666        257,343         2,105.9%

 Table 3 represents the average daily number of individuals in USBP custody across the SWB
 and, more specifically, in RGV Sector, for the months of July 2021, August 2021, and September
 2021. Table 4 provides specific information regarding the number of class members in USBP
 custody across the SWB and in RGV Sector as of October 14, 2021, at 6:00 a.m. Eastern
 Daylight Time (EDT). The October 14, 2021 date was selected to provide a snapshot of the
 number of class members in USBP custody during the time this report was compiled.

                         Table 3. USBP Average Daily Subjects in Custody15

                                               July 2021          August 2021          September
                                                                                          2021
            USBP SWB Average                      9,271                9,880             9,918
            RGV Average                           4,096                4,634             3,660

                             Table 4. Class Members in USBP Custody on
                                 October 14, 2021 at 6:00 a.m. EDT16

                                                               SWB              RGV Sector
                    Number of UCs                               575                290
                    Number of FMU Children                     1,210               771
                    TOTAL                                      1,784              1,061




 11
    See, Southwest Land Border Encounters by Component: Fiscal Year to Date (FYTD) Percent Change, U.S.
 Department of Homeland Security, Customs and Border Protection,
 https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters-by-component, (last visited October 27,
 2021).
 12
    Id.
 13
    Id.
 14
    Id.
 15
    See, USBP Average Daily Subjects In Custody by Southwest Border Sector, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics (last
 visited October 27, 2021).
 16
    The census of class members in USBP and RGV Sector custody as shown in Table 4 was provided to JCO by
 USBP for the purpose of this report. This is not official data published on cbp.gov.
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 Finally, Table 5 depicts the average length of time children were in USBP custody across the
 SWB and in RGV Sector.17 This table shows the average TIC for all children, as well as the TIC
 for UCs and FMU children specifically. Average TIC data is provided for August 2021,
 September 2021, and for October 14, 2021. The average TIC on October 14, 2021 was provided
 to depict a more recent snapshot of the average TIC for class members as of the time this report
 was compiled.
                            Table 5. Average USBP Time in Custody18

                             August 2021 September 2021 October 14, 2021
                              (Hours)        (Hours)        (Hours)
                         All    55.53         54.24          40.39
             USBP SWB UCs       44.04         29.40          22.63
                        FMUs    61.03         61.21          48.82
                         All    50.40         50.24          42.14
             RGV Sector UCs     45.38         30.51          19.70
                        FMUs    53.51         57.63          50.58

 Number of Class Members Currently Testing Positive for COVID-19

 As explained in my June 4, 2021 report, CBP conducts health intake interviews, including
 COVID-19 considerations and temperature checks, on individuals in custody upon entry into
 CBP facilities. Individuals entering CBP custody with identified COVID concerns are taken
 from the CBP facility to a local health care facility for further assessment, COVID-19 testing,
 and treatment as appropriate. It is possible that a local health care facility may test an individual
 for COVID-19 if they are referred from CBP for another health reason. In addition, individuals
 in CBP custody, including children, may be tested for COVID-19 by ICE, HHS, or state/local
 partners, as appropriate, upon transfer or release from CBP custody. CBP maintains general
 visibility on all these efforts, but given the multiple lines of effort, does not maintain
 comprehensive data on the number of children who have been in CBP custody and may have
 tested positive for COVID-19.

 Monitoring Personnel

 As described in my June 4, 2021 report, JCO is a team comprised of six experienced individuals
 who report directly to me. JCO’s primary responsibility is monitoring the Agency’s compliance


 17
    TIC represents the amount of time a child is in CBP custody, beginning at the time of apprehension through the
 time of transfer from CBP custody. Thus, the average TIC for all children is calculated based on the total number of
 children in custody and how long each had been in custody as of 6:00 a.m. EDT on a particular day. For example, if
 a child was arrested at 12:00 a.m. EDT on October 10, 2021, then the child would have a TIC of six hours when TIC
 was compiled for that day. Likewise, if a child was arrested at 12:00 a.m. EDT on October 9, 2021, and remained in
 custody on October 10, 2021, that child’s TIC would be captured at 30 hours when TIC was pulled on October 10,
 2021.
 18
    The average TIC for class members in USBP facilities as shown in Table 5 was provided to JCO by
 USBP for the purpose of this report. This is not official data published on cbp.gov. The “All” in this table refers to
 all children under the age of 18; no adults are included in these statistics.
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 with the FSA. I am confident in JCO’s ability to continue robust monitoring of CBP facilities
 across the SWB.

 CBP Status Updates

 This section provides relevant updates related to CBP policy and capacity for processing children
 considering COVID-19, Title 42, and other significant developments. This report does not
 include the CBP and RGV Sector COVID-19 policies discussed in my previous interim reports.

 Capacity for Processing Minors

 CBP continues to assist the Centers for Disease Control and Prevention (CDC) in enforcing its
 Public Health Reassessment and Order Suspending the Right to Introduce Certain Persons from
 Countries Where a Quarantinable Communicable Disease Exists (August 2, 2021).19 As of the
 filing date of this report, the government may still expel single adults and family units in the
 United States traveling from Canada or Mexico (regardless of their country of origin) who would
 otherwise be held in OFO ports of entry or USBP stations for immigration processing.

 All UCs encountered in the United States are processed under Title 8 authorities and transferred
 to the custody of HHS, Office of Refugee Resettlement (ORR) or repatriated to a contiguous
 country in accordance with the Trafficking Victims Protection Reauthorization Act of 2008. On
 July 22, 2021, the CDC published in the Federal Register a Notice “fully excepting UC from the
 October Order.”20 Family units continue to be processed in multiple ways depending on various
 factors as described in my April 9 report.

 COVID-19 Precautions

 CBP continues to adapt and refine its COVID-19 protocols and guidance based on the most
 current CDC and other applicable guidance. Consistent with recent CDC guidance, CBP has
 adjusted its facemask requirements for vaccinated and unvaccinated CBP personnel, subject to
 more specific federal, local, operational, or occupational health guidance. In accordance with
 updated DHS directives and consistent with CDC guidance, in areas with “Substantial or “High”
 transmission rates, all CBP employees, onsite contractors, and visitors must wear a facemask
 inside federal buildings. Inside CBP holding areas or when interacting with individuals in
 custody, CBP continues to require CBP personnel to wear facemasks and/or appropriate personal
 protective equipment, depending on the type of contact and risk of exposure. CBP also
 continues to provide facemasks for individuals in custody to wear and continues to encourage
 social distancing to the extent possible.

 At the time of filing this report, RGV Sector has a dedicated station for anyone requiring
 isolation due to illness. Additionally, RGV Sector began facilitating COVID-19 testing by HHS
 of all UCs at CPC-DNT. UCs who test negative enter CPC-DNT and are processed for transfer
 to HHS in accordance with existing procedures. UCs who test positive for COVID-19 and

 19
      See, 86 Fed. Reg. 42828 (August 5, 2021).
 20
      See, 86 Fed. Reg. 38717 (July 22, 2021).
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 corresponding UC family members who may test negative are isolated in a neighboring soft-
 sided facility and generally transferred to an ORR facility within 12 hours.

 Updated Medical Guidance Issued

 CBP continues to work closely with the Independent Monitor/Special Master and Independent
 Medical Expert and values their feedback. In consultation with, and at the recommendation of,
 the Independent Medical Expert, USBP issued guidance to across the SWB on October 25, 2021
 advising agents to provide relevant medical documentation to ORR upon transfer of UCs.
 Consistent with the CBP Enhanced Medication Directive, this updated guidance ensures UCs
 receive continuity of medical care when transferred from USBP to ORR.

 Safe and Sanitary Conditions in USBP RGV Sector

 CPC-DNT continues to serve as the primary hub for processing and holding children and
 families in RGV Sector, and I understand that CPC-DNT continues to operate in a manner
 consistent with my and JCO’s onsite observations from previous site visits. I understand that
 CPC-DNT continues to provide children with regular meals and snacks; access to drinking water,
 functioning toilets, functioning sinks, emergency medical assistance if needed; and hold rooms
 that have adequate temperature control and ventilation. I will continue to engage with RGV
 Sector and monitor conditions of custody across the SWB.

 CBP/RGV Renovation and Construction

 Construction continues at the Centralized Processing Center-Ursula, and absent any unforeseen
 delays, will be completed December 2021. RGV Sector anticipates operations will resume in
 January 2022.
